Case 2:21-cv-00818-GGG-JVM Document 1-1 Filed 04/23/21 Page 1of1
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

JS 44 (Rev. 10/20)

I. (a) PLAINTIFFS
Dominique Jackson

(b) County of Residence of First Listed Plaintiff

St. Bernard, LA

 

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

Keith L. Magness, 920 Derbigny
504-264-5587

St., Gretna, LA 70053

DEFENDANTS

Attorneys (if Known)

 

Shannon Blount, JLB Contractors, LLC, and Liberty Mutual
Fire Insurance Company

County of Residence of First Listed Defendant Madison County, TX

(IN U.S. PLAINTIFF CASES ONLY)

THE TRACT OF LAND INVOLVED.

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF

Bruce S. Johnston, 3900 N. Causeway Blvd., Ste. 650,
Metairie, LA; 504-837-7050

 

II. BASIS OF JURISDICTION (Place an “x” in One Box Only)

 

i. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

 

 

 

 

 

 

 

    
 

 

 

 

 

     
   
   

(For Diversity Cases Only) and One Box for Defendant)
([]1 U.S. Government []3 Federal Question PIF DEF PIF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State (Ji 2] 1. incorporated or Principal Place Ol4 [a
of Business In This State
(2 U.S. Government []4 Diversity Citizen of Another State [12 [EZ] 2 Incorporated and Principal Place = []5 []s
Defendant (indicate Citizenship of Parties in Item IID) of Business In Another State
Citizen or Subject of a [13 [1 3. Foreign Nation Os Cis
Foreign Country
IV. NATURE OF SUIT (Place an “X”’ in One Box Only) Click here for: Nature of $i lit Code criptions.
Ll CONFRACT TORTS FORFEITURE/PENALTY BANKRUPTCY Seg EU
110 Insurance PERSONAL INJURY PERSONAL INJURY [ ]625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane oO 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability [7 ]690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability [[] 367 Health Care/ 400 State Reapportionment
150 Recovery of Overpayment |” ] 320 Assault, Libel & Pharmaceutical 410 Antitrust
& Enforcement of Judgment} Slander Personal Injury 820 Copyrights 430 Banks and Banking
H 151 Medicare Act | 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability Ol 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
oO 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets T 480 Consumer Credit
of Veteran’s Benefits x} 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
160 Stockholders” Suits 355 Motor Vehicle 371 Truth in Lending Act r] 485 Telephone Consumer
190 Other Contract Product Liability 380 Other Personal | _|720 Labor/Management Protection Act
195 Contract Product Liability rl 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury O 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
rl 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |__ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI 890 Other Statutory Actions
[CT REAL PROPERTY] CIVIL RIGHTS PR PETITION 790 Other Labor Litigation 865 RSI (405(g)) 891 Agricultural Acts
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement 893 Environmental Matters
220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act s 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896
245 Tort Product Liability Accommodations 530 General r] 871 IRS—Third Party 899 Procedure
C] 290 All Other Real Property | 445 Amer. w/Disabilities -[ | 535 Death Penalty IMMIGRATION 26 USC 7609 or Appeal of
Employment Other: 462 Naturalization Application Agency
446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration | 950 of
Other 550 Civil Rights Actions State Statutes
|] 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

1 Original 2 Removed from 3 Remanded from oO 4 Reinstated or Oo 5 Transferred from 6 Multidistrict oO 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

 

VI. REQUESTEDIN = [(] CHECK IF THIS IS A CLASS ACTION

DEMAND $

Cite the U.S. Civil Statute under which you are filing (Do aot cite jurisdictional statutes unless diversity):
28 U.S.C. §1332(a),

Brief description of cause:
Motor Vehiciel Accident

CHECK YES only if demanded in complaint:

 

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P, JURY DEMAND: __ [Yes No
VIIL RELATED CASE(S)
IF ANY (See instructions): JUDGE 4 BOOKED WUMBRE
DATE STGNERRE OF ATOR (OF RECORD
4/23/2021 i, OR A eaten
FOR OFFICE USE ONLY i
RECEIPT # AMOUNT APPLYING [FP JUDGE MAG. JUDGE

 

 

 
